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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MINNESOTA
__________________________________

Bachman’s, Inc.,                                  Civil File No. 0:20-cv-02399 (MJD/DTS)

                             Plaintiff,
                                                   DEFENDANT FLORISTS’ MUTUAL
v.                                                  INSURANCE COMPANY’S RULE
                                                     12(b)(6) MOTION TO DISMISS
Florists’ Mutual Insurance Company,

                      Defendant.
__________________________________

       Defendant, Florists’ Mutual Insurance Company, by its counsel, hereby moves this

Court pursuant to Fed. R. Civ. P. 12(b)(6) for an Order dismissing Plaintiff’s Complaint

for failure to state a claim on which relief can be granted.

       This Motion is based on the pleadings on file herein, and Defendant’s

Memorandum of Law and other filings in Support of the Motion to Dismiss.


                                             Respectfully submitted,

                                             O’MEARA, LEER, WAGNER & KOHL, P.A.


Dated: December 11, 2020.                 By:        s/ Dale O. Thornsjo                .
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